        Case 2:25-cv-02193-EK-ST                     Document 4         Filed 04/21/25      Page 1 of 1 PageID #: 77

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of New York


  CHANA ADLER ON BEHALF OF HERSELF AND                              )
          HER MINOR CHILDREN                                        )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:25-cv-2193 (EK)(ST)
                                                                    )
    CHERYL FEDER IN HER CAPACITY AS THE                             )
    TRUSTEE OF THE SA 2021 IRREVOCABLE                              )
                  TRUST                                             )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Cheryl Feder
                                           2 Stewart St
                                           Passaic, New Jersey 07055




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Abraham S. Beinhorn, Esq.
                                           LIEBERMAN AND KLESTZICK, LLP
                                           381 Sunrise Hwy, Suite 302
                                           Lynbrook, New York 11563
                                           Tel: (516) 400-1208
                                           Email: abraham@landklegal.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                               CLERK OF COURT

              4/21/2025
Date:
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                                                                                         Signature     Clerk
                                                                                                         lleerk or
                                                                                                                o Deputy Clerk
